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17                                                      Attorneys for Defendant Sonos, Inc.

18
                                   UNITED STATES DISTRICT COURT
19                               NORTHERN DISTRICT OF CALIFORNIA
                                      SAN FRANCISCO DIVISION
20

21   GOOGLE LLC,
                                                         Civil Action No. 3:20-CV-03845-EMC
22                  Plaintiff,
                                                         JOINT STATUS REPORT
23                          v.                           PURSUANT TO DKT. 138
24   SONOS, INC.,                                        Date: July 12, 2022
                                                         Time: 2:30 p.m.
25                                                       Ctrm: Courtroom 5, 17th Floor
                    Defendants.                                 450 Golden Gate Avenue,
26                                                              San Francisco, CA 94102
                                                         Judge: Hon. Edward M. Chen
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28                                                       JURY TRIAL DEMANDED


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 1                                           INTRODUCTION

 2          Pursuant to this Court’s January 20, 2022 Notice (D.I. 138), the Standing Order for All

 3 Judges of the Northern District of California, and Civil Local Rule 16-9, Plaintiff Google LLC

 4 (“Google”) and Defendant Sonos, Inc. (“Sonos”) submit this Joint Status Report.

 5 I.       FACTS:

 6          There are three asserted patents in this action: U.S. Patent Nos. 7,899,187 (“’187 patent”),

 7 10,140,375 (“’375 patent”) and 10,229,586 (“’586 patent”) (collectively, the “patents in suit”). 1 On

 8 June 7, 2021, this Court issued a Claim Construction Order addressing disputed terms in the patents

 9 in suit. (D. I. 108.) The parties have begun engaging in the discovery process, propounding and

10 responding to interrogatories and requests for production and producing voluminous documents

11 (including source code made available for inspection). No depositions have yet taken place other

12 than for claim construction. On October 8, 2021, Google noticed Sonos’s deposition pursuant to

13 Rule 30(b)(6). On November 5, 2021, Sonos responded with certain objections. The parties are

14 meeting and conferring on Sonos’s objections to that deposition notice.

15          On August 10, 2021, December 7, 2021, and January 13, 2022, the parties filed prior Status

16 Reports. (D.I. 112, 128, 137.)

17          On October 26, 2021, Sonos filed an unopposed motion for issuance of a Hague Convention

18 letter of request to obtain evidence in Switzerland from the DVB Project. (D.I. 122). On October

19 29, 2021, that motion was granted. (D.I. 124).

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           Google filed this action on June 11, 2020, alleging Sonos’ infringement of the three patents in
24   suit as well as U.S. Patent Nos. 8,583,489 (“’489 patent”) and 7,065,206 (“’206 patent”). (D.I. 1).
     Sonos initially moved to dismiss the second, third, and fifth causes of action (infringement on ’489,
25   ’375, and ’586) on August 12, 2020. (D.I. 25.) Google subsequently filed an Amended Complaint
     on August 26, 2020. (D.I. 35.) Sonos withdrew its initial motion to dismiss on August 28, 2020,
26   and filed a motion to dismiss the Amended Complaint on September 10, 2020. (D.I. 39.) In its
     motion, Sonos moved only to dismiss the claims for infringement on the ’489 patent, as set forth in
27   Google’s second cause of action. (Id.) On November 2, 2020, that motion was granted. (D.I. 60.)
28   On June 2, 2021, the parties stipulated the dismissal of the ’206 patent infringement claim, and on
     June 4, 2021, the Court granted the parties’ stipulation. (D.I. 105, 107.)

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 1          In late October and early November 2021, the PTO instituted inter partes review (IPR) of

 2 the ’375 and ’586 patents. On January 20, 2022, the Court granted in part Sonos’s motion to stay

 3 pending IPR, permitting the parties to continue discovery relating to the ’187 patent. (D.I. 138).

 4 II.      MOTIONS:

 5          Rule 12(c) motion. On December 1, 2021, Sonos filed a motion for judgment on the

 6 pleadings. (D.I. 127.) Pursuant to the parties’ stipulation and the Court’s December 22, 2021 Order

 7 (D.I. 136), the briefing schedule on Sonos’ Motion for Judgment (D.I. 127) is suspended, the hearing

 8 on the motion is deferred, and the parties will file a joint stipulation proposing a new briefing

 9 schedule and hearing date on the motion within one week of entry of any Order lifting a stay of

10 proceedings as to the ’375 patent.

11 III.     IPR STATUS:

12          IPR proceedings for the ’375 and ’586 patents remain pending before the Patent Office. An

13 oral hearing in the ’586 IPR is set for July 18, 2022, and an oral hearing is scheduled to occur in the

14 ’375 IPR on August 18, 2022. Final written decisions are expected no later than November 10,

15 2022.

16 IV.      ’187 PATENT DISCOVERY STATUS:

17          On March 21, 2022, Google served a Second Set of Interrogatories, and Sonos served its

18 responses on May 4, 2022.

19          On May 2, 2022, Google sent a letter to Sonos challenging the sufficiency of Sonos’s prior

20 responses to certain requests in Google’s First Set of Interrogatories. In response, Sonos produced

21 further source code for products accused of infringing the ’187 patent and, on May 27, 2022, served

22 Second Amended Responses to Google’s First Set of Interrogatories. The parties have since

23 exchanged further correspondence regarding the adequacy of certain of Sonos’s discovery

24 responses. At this stage there is not a dispute that requires Court intervention, but if such a dispute

25 arises the parties will bring it to the Court’s attention in a joint letter, as permitted by the Court’s

26 notice. (D.I. 138).

27          Following resolution of outstanding issues with Sonos’s written discovery responses,

28 Google will be requesting dates for depositions of Sonos witnesses.


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 2         Respectfully submitted,

 3   Dated: July 5, 2022                             Respectfully submitted,

 4   /s/ Patrick Curran                              /s/ Alyssa Caridis
     Patrick Curran                                  Alyssa Caridis
 5   Attorneys for GOOGLE LLC                        Attorneys for SONOS INC.
 6   QUINN EMANUEL URQUHART &                        ORRICK, HERRINGTON & SUTCLIFFE
     SULLIVAN, LLP                                   LLP
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 8   Counsel for Plaintiff Google LLC                Counsel for Defendant Sonos Inc.
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 1                                       ECF ATTESTATION

 2         I, Sean Taheri, am the ECF User whose ID and password are being used to file this JOINT

 3 CASE MANAGEMENT STATEMENT. In compliance with General Order 45, X.B., I hereby

 4 attest that Counsel for Google and Counsel for Sonos have concurred in this filing.

 5   Dated: July 5, 2022                                    Sean Taheri
                                                            QUINN EMANUEL URQUHART &
 6                                                          SULLIVAN, LLP

 7                                                          By:    /s/ Sean Taheri
                                                                   Sean Taheri
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